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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES -- GENERAL

Case No.     CV 19-793 MWF (JEMx)                                 Dated: November 16, 2021

Title:       JOSEPH EVANS, et al. -v- COUNTY OF LOS ANGELES, et al.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                 None Present
             Courtroom Deputy                             Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                  ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                None Present

PROCEEDINGS: (IN CHAMBERS) COURT ORDER

       In light of the prior Supplemental Joint Reports Re Settlement (Docket Nos. 142 and
143), the Court's prior Order to Show Cause Re Dismissal (Docket No. 144), and the Court's
Orders Approving Minor's Compromise (Docket Nos. 151 and 152), the Court sets a hearing
on Order To Show Cause Re Dismissal for DECEMBER 20, 2021 at 11:30 a.m. If a
stipulated dismissal is filed before December 17, 2021, the matter will be taken off calendar
and no appearances are needed. If the parties have any other matters or status to convey to
the Court, a joint report shall be filed no later than December 3, 2021.

         IT IS SO ORDERED.




MINUTES FORM 90                                                Initials of Deputy Clerk   rs
CIVIL ‐ GEN
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